Case 0:12-cv-62086-WJZ Document 49-10 Entered on FLSD Docket 04/18/2014 Page 1 of 16




                     Review of RedlineXtreme

                               April 10, 2014




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                                                                           1
Case 0:12-cv-62086-WJZ Document 49-10 Entered on FLSD Docket 04/18/2014 Page 2 of 16




       Final Report

       1. Opinion 1: RedlineXtreme is misbranded

          a. VPX markets and advertises RedlineXtreme as an energy drink. The FDA
             regulates conventional foods, finished dietary supplement products and dietary
             ingredients. The “energy” products are relatively new to the market, and
             manufacturers of these products have labeled some as dietary supplements and
             others as conventional foods. FDA regulates both dietary supplements and
             conventional foods under the Federal Food, Drug, and Cosmetic Act (FFDCA),
             but the requirements for them are different. Different statutory standards govern
             the type of information that may lawfully appear on different types of products
             (i.e., traditional foods, dietary supplement, medical foods, special dietary foods
             (Turner, 2005). Whether the product is marketed as a supplement or a
             conventional food, the font size used on the label is smaller than that allowed by
             the FDA
             (http://www.fda.gov/Food/GuidanceRegulation/GuidanceDocumentsRegulatoryIn
             formation/DietarySupplements/ucm070597.htm)(FDA, 2005).
          b. There is no statutory definition of energy drinks and companies can choose
             whether to label an energy product as a beverage or liquid supplement. Although
             VPX markets and advertises RedlineXtreme as a drink, it labels the product as a
             dietary supplement. The FDA has not provided a definition of “energy drinks”
             however these products have been defined by the American Beverage Association
             as “non- alcoholic beverages that are specifically marketed with an energizing
             effect and a unique combination of characterizing ingredients which may include
             caffeine, taurine, vitamins and other substances (AmericanBeverageAssociation,
             downloaded April 5, 2014). In a document providing Guidance for FDA Staff,
             Compliance Policy Guide, Sec. 510.800 Beverages-Serving Size Labeling, the
             FDA provides guidance for serving size labeling for beverages. In that document,
             both the FDA and the American Beverage Society include energy drinks as an
             example of those beverages in question. (FDA, 2010)
             (http://www.fda.gov/iceci/compliancemanuals/compliancepolicyguidancemanual/
             ucm344264.htm) as beverages or drinks (the two terms are synonymous (Webster
             dictionary), energy drinks fall under the category of conventional foods. In
             addition, the FDA issued guidance for industry (FDA, 2014a)
             (http://www.fda.gov/Food/GuidanceRegulation/GuidanceDocumentsRegulatoryIn
             formation/IngredientsAdditivesGRASPackaging/ucm381315.htm) as it relates to
             substances added to foods, including beverages and dietary supplements because
             the Agency has “seen a growth in the marketplace of beverages and other
             conventional foods that contain novel substances”. The FDA noted three common
             scenarios that have raised a red flag for the Agency, signaling an increased
             possibility of unapproved new food ingredients: (1) new ingredients used for the
             first time: (2) currently used ingredients added to foods at potentially unsafe
             levels; and (3) currently used ingredients added to new types of foods. It is




                                                                                             2
Case 0:12-cv-62086-WJZ Document 49-10 Entered on FLSD Docket 04/18/2014 Page 3 of 16




             important to note that this document does not provide new policy but rather a
             brief restatement of well-established FDA interpretation of the FFDCA.
          c. Food and Drug Administration has outlined practices to guide the industry to
             determine whether a product is being marketing as a conventional food (FDA,
             2014b)
             http://www.fda.gov/food/guidanceregulation/guidancedocumentsregulatoryinform
             ation/dietarysupplements/ucm381189.htm) Included in the determination of a
             product considered a conventional food is “…paying for the product to be
             displayed in the beverage section of retail stores”. Note Exhibits 1, 2, and 3 as
             examples where RedlineXtreme is marketed with other beverages (RedlineXtreme
             being sold at Oliver’s Market, Cotati, CA; 7-11 Convenience Store, Cotati, CA;
             picture from plaintiff’s council). Within this context several additional factors are
             taken into consideration, including graphic representation in labeling (note the
             graphics of watermelons on the bottle) or other marketing practices. The Agency
             noted that, in most cases, a combination of factors would determine whether the
             product is a beverage or a dietary supplement; although, in some circumstances, a
             single factor can be dispositive. The FDA clarifies that it is the overall context of
             a product’s packaging and labeling that is considered in establishing its intended
             use, i.e., as a conventional food or a dietary supplement. Pomeranz and colleagues
             stated in a recent manuscript that “According to the FDA, energy drinks labeled
             as supplements are mislabeled” (Pomeranz, 2013). Based on the above, it is my
             opinion that the RedlineXtreme is being marketed as a conventional food and
             should follow the labeling regulations for conventional foods; because it does not,
             it is misbranded. The print or type size should be prominent, conspicuous and
             easy to read. The letters must be at least one-sixteenth (1/16) inch in height based
             on the lower case letter "o," and not be more than three times as high as they are
             wide, unless the company petitions for an exemption in accordance with 21 CFR
             101.2(f). The lettering must contrast sufficiently with the background so as to be
             easy to read. (FDA, 2013)
             http://www.fda.gov/downloads/Food/GuidanceRegulation/UCM265446.pdf
             Exhibit 4 clearly demonstrates that the RedlineXtreme (8 ounces; 2 servings) label
             provides a tremendous amount of information making it difficult to read. The
             supplement facts labels lists the ingredients including that contained in the
             proprietary blend. The letters are quite small, and in some cases smaller than that
             required by the FDA. Even more disconcerting is the information provided on the
             warning section of the label. The words blend together and are difficult to read.
             They are also less than the required 1/16 inch in height and do not follow a
             straight line. Included in this section are the warnings that I was able to read only
             with a magnifying glass.

             Since the product includes a supplement label, it might be expected that the
             company would follow the regulations provided for supplements; although
             despite a supplement label a product may still be defined as a beverage according
             to the FDA. In any case, the requirements for format of the supplement facts panel
             include: a) a single easy-to-read type style; b) all black or one color type, printed
             on a white or neutral contrasting background, whenever practical; c) upper-and


                                                                                                3
Case 0:12-cv-62086-WJZ Document 49-10 Entered on FLSD Docket 04/18/2014 Page 4 of 16




             lowercase letters, except that you may use all uppercase lettering on small
             packages (i.e. packages having a total surface area available to bear labeling of
             less than 12 square inches; d.) at least one point leading (i.e., space between lines
             of text) and e) letters that do not touch . Information other than the title, headings,
             and footnotes must be in uniform type size no smaller than 8 point. This is
             equivalent to 0.11 inches (2.79 mm). The RedlineXtreme product (8 ounces) bears
             information in print size less than 1/20 of an inch (1.4 mm); clearly not meeting
             the guidance provided by FDA ((FDA, 2005)). See exhibit 3. For smaller
             packages (i.e. Packages having a total surface area available to bear labeling of
             less than 12 square inches) point font, the required font size may be as low as 4
             point, which is equivalent to .055 inches or approximately 1/20 of an inch.
             Footnotes can be in type no smaller than 6-point font.

          d. RedlineXtreme energy drink is marketed as an “ultimate energy rush”. The font
             size for the statement is approximately 3 x that of the warnings. The following
             statements appear prominently on the label (in font size approximately 2x that of
             warnings), “University Proven 7.5% improvement in reaction time”, “A potent
             13% increase in energy”; “An amazing 15% increase in mental focus”. The basis
             for these statements are not based on competent and reliable scientific evidence
             and come from one controlled study using RedlineXtreme energy drink, published
             in a peer-reviewed journal (Hoffman, 2009). The lead author, Jay R. Hoffman has
             published several manuscripts using VPX products and receives funding from
             VPX for the work. Hoffman and colleagues examined the effect of RedlineXtreme
             in 12 male competitive strength/power athletes and reported that there were
             significant differences in reaction performance and percent of targets struck
             (measures of exercise performance). These differences were extremely small with
             a high degree of variability. Subjects completed a survey that consisted of 4
             questions asking each subject to describe their feelings of energy, fatigue,
             alertness and focus for that moment. Then the subjects performed a 2-minute
             quickness and reaction test on the Makoto testing device and a 20 second Wingate
             Anaerobic Power test. The reliability and validity of the questionnaire was not
             noted, and only consisted of 4 questions. Results showed that the energy level in
             subjects consuming RedlineXtreme was 13% higher than controls; the feeling of
             focus was 15% higher than controls. However, the statement on bottle says “13%
             increase in energy”—the results presented do not demonstrate that the subjects
             increased their energy since there were no data provided for subjects prior to
             consuming the drink (baseline) but only a comparison of the control to placebo
             effect. The same interpretation can be made for the subjects’ feeling of focus.
             The study also showed no difference in fatigue or alertness. There were no
             differences in any measures of anaerobic power. There were significant
             differences in reaction time in that the number of successful hits to the target and
             the average percentage of successful hits on target was higher in subjects
             consuming RedlineXtreme relative to when the subjects consumed a placebo. The
             RedlineXtreme bottle provides a statement on the label stating a 7.5%
             improvement in reaction time that is based on the number of successful hits to
             target – controls had 52 and supplements had 56. While these differences are


                                                                                                  4
Case 0:12-cv-62086-WJZ Document 49-10 Entered on FLSD Docket 04/18/2014 Page 5 of 16




             small they translate into 7.5% higher number but not an improvement from
             baseline since baseline was not reported. The authors summarize their study:
             “Results of this study indicate that the supplement Redline Extreme can
             significantly improve subjective feelings of focus and energy leading to a
             significant increase in reaction time to both visual and auditory stimuli in
             strength/power athletes”. In my opinion, the results do not show an increase since
             there are no baseline measurements thus, a statement of “7.5% improvement in
             reaction time!” a potent 13% increase in energy!” and an amazing 15% increase
             in mental focus!” are not reflective of the results of the ONE study. It is also
             essential to note that these results were observed in trained athletes and may not
             be reflective of a typical consumer. The statement “ultimate energy rush” is not
             based on any data on this study or any other scientific study. The authors clearly
             note that acute ingestion of this supplement had NO EFFECT on anaerobic power
             performance. In addition, the subjects participating in this study were asked not to
             eat or drink anything 3 hours prior to consuming the test beverage, to refrain from
             consuming any caffeine products on the day of each testing session and from
             performing any strenuous physical activity for the previous 12 hours; thus
             consumers may not be following the same protocol and may not experience the
             same results.
          e. In my opinion, the product is marketed as a drink despite bearing a Supplement
             Facts label. This opinion is based on its placement next to beverages in retail
             outlets (noted in part c of this document, Exhibits 1, 2, and 3), food graphics on
             this product, the size of the bottle, and most importantly, VPX admission that the
             product is marketed as an energy drink.

               Although the FDA limits caffeine content in softs drinks, which are categorized as
       conventional foods, there is no such regulation of energy products. There has been
       substantial growth in the marketplace of beverages and other conventional foods that
       contain novel ingredients, such as added botanical ingredients or their extracts. Some of
       these ingredients have not previously been used in conventional foods and may be
       unapproved food additives. In addition, ingredients that have been present in the food
       supply for many years are now being added to beverages and other conventional foods at
       levels in excess of their traditional use levels or in new beverages or other conventional
       foods. This trend raises questions regarding whether these ingredients are unapproved
       food additives when used at higher levels or under other new conditions of use. The
       International Society of Sports Nutrition provided a position stand on energy drinks
       (Campbell, 2013). Low calorie energy drinks are marketed to increase mental alertness,
       energy metabolism and performance. Within this statement the Society evaluates the
       current scientific literature on the role that energy drinks may have on exercise
       performance and energy expenditure/metabolism. They also discuss safety
       considerations. There appears to be consensus that caffeine is effective for enhancing
       sport performance in trained athletes when consumed in low-to-moderate dosages (3-6
       mg per kg body weight=243-486 mg in a 180 lb. person) and does not result in further
       enhancement in performance when consumed in higher dosages (greater than or equal to
       9 mg per kg body weight). The statement discusses the substances purported to promote
       cognition and mental focus such as 5-HTP, St John’s Wort, stimulants green tea,


                                                                                               5
Case 0:12-cv-62086-WJZ Document 49-10 Entered on FLSD Docket 04/18/2014 Page 6 of 16




       synephrine, yerba mate, yohimbine, vinpocetine and other purported ergogenic nutrients.
       The statement goes on to state that the amounts of the aforementioned substances
       contained in energy drinks are generally much lower than the typical concentrations
       associated with an ergogenic effect. Importantly, the statement includes a note that
       “Adding these nutrients to the caffeine found in energy drinks may change the adverse
       effect profile of these finished products and warrant further study” (Campbell, 2013).

               The FDA imposes a limit of 71 mg of caffeine per 12 fluid ounces of soda
       (Seifert, 2011). If a product is considered a supplement, there are no requirements for
       testing, warning labels, or restriction against sales or consumption by minors. In contrast,
       over-the-counter caffeine stimulants must list the minimum age for purchase. Several
       countries have restrictions on the sale of energy drinks. In Denmark, energy drinks are
       prohibited entirely. The European Food Safety Authority apply the following: Beverages
       that contain >150 mg/L caffeine should be labeled “high caffeine content” and the exact
       amount present indicated on the label. For reference, an 8-ounce bottle of RedlineXtreme
       contains at least 316 mg, (at least because the proprietary blend also contains caffeine and
       similar stimulants) translating to 1330 mg/L caffeine. In Norway, energy drinks can only
       be sold in pharmacies.

       2. Opinion 2: RedlineXtreme Energy Drink is Unfit for Intended Purpose

               Consumers are unlikely to understand the subtle regulatory differences between
       health claims, qualified health claims and structure/function claims and may often
       interpret anything stated on the label to be true simple because it is in print. (Turner,
       2005). Nutrition facts labels can keep consumers informed however, consumers currently
       do not understand these labels well (Graham, 2011). In addition, self-reported data from
       consumers show that label components at the top of the label were viewed more than
       those at the bottom, and labels positioned in the center of the screen were viewed more
       than those on the sides (Graham, 2011).
               Energy drinks contain various stimulants with the most common one being
       caffeine. Opponents of stricter regulations for energy drinks often state that caffeine has
       been shown to be safe up to 500 mg per day (Sepkowitz, 2013). It should be noted,
       however, that while ! bottle of RedlineXtreme contains 158 of caffeine anhydrous that 1)
       anhydrous is more effective than caffeine in coffee; 2) most individuals are most likely to
       drink more than ! bottle; 3) there are other stimulants present that include caffeine and
       have similar stimulatory effects; thus one cannot assume the product is safe when all
       substances are combined and that it only has the strength of less than 2 cups of coffee as
       stated on the label; 4) that one cannot assume that the product is safe under conditions of
       strenuous exercise; and 5) that one cannot assume the product is safe when taken on an
       empty stomach or for adolescents. RedlineXtreme includes a warning label on the bottle
       “not for use by individuals under the age of 18 years” but the product is marketed as an
       “ultimate energy rush” and touts “7.5% faster reaction time”; claims that attract the
       attention of adolescents. In fact, energy drinks are reportedly consumed by 30-50% of
       adolescents and young adults (Seifert, 2011). The American Academy of Pediatrics
       specifically cautioned that dietary intake of caffeine can produce harmful adverse effects
       in youth and should be discouraged for all children (Schneider, 2013).


                                                                                                 6
Case 0:12-cv-62086-WJZ Document 49-10 Entered on FLSD Docket 04/18/2014 Page 7 of 16




                It is the combinations of ingredients that raises concerns that energy dinks may
       pose health hazards since the known drug-drug interactions relating to caffeine’s toxic
       effects are incompletely documented. Some ingredients in energy drinks may confer
       toxicity or promote drug-drug interactions. (Sepkowitz, 2013; Torpy, 2013). With respect
       to RedlineXtreme, one half of a bottle (4 ounces) is considered one serving, and contains
       158 mg of anhydrous caffeine. However the proprietary blend contains substances that
       also contain caffeine and can boost the effects of added caffeine (Clauson, 2003; Reissig,
       2009). It should be noted that the bottle gives the appearance of one serving since in most
       cases, 8-12 ounces is a typical serving size for a beverage. The label does not inform the
       user of the true strength and nature of the product and misleadingly suggests that it is no
       stronger than 2 cups of coffee.

       Active Components of RedlineXtreme

       Substances with stimulatory effects and/or potentiation of stimulant effects

       Caffeine: Caffeine is a central and sympathetic nervous system stimulant. It is a strong
       cardiovascular stimulant that increases epinephrine output to a greater extent when
       ingested vita its anhydrous formulation when compared to an equal amount of brewed or
       instant caffeinated coffee (M. a. Bell, 2004; McLellan, 2012). RedlineXtreme energy
       drinks claims it contains 158 mg anhydrous caffeine per 4 ounce serving. However, this
       is not a complete disclosure of the true strength of the product. In healthy adults a
       caffeine intake of less than 500 mg per day is considered safe; acute clinical toxicity
       begins at 1 g and 5 to 10 g can be lethal (Cannon, 2001). Commonly reported adverse
       effects seen with caffeine in the quantities present in most energy drinks (250-300 mg)
       are insomnia, nervousness, headache, tremors, anxiety, nausea and tachycardia
       (Sepkowitz, 2013; Wolk, 2012). Tachycardia is defined as a faster than normal heart rate
       which can seriously disrupt normal heart function, increase the risk of stroke, or cause
       sudden cardiac arrest or death. The effects of chronic high dose caffeine intake in
       children and adolescents are unknown. Caffeine may raise blood pressure, disrupt
       adolescent sleep patterns, exacerbate psychiatric disease, cause physiologic dependence,
       and increase the risk of subsequent addiction (Wolk, 2012). Toxicity of given substances
       are a function of the interaction of many physiologic variables that include the following:
       acute and chronic dosing, route of administration, genetics, age, sex, environment, and
       intrinsic health of the individual being exposed. Unknown preexisting risk factors may
       increase the risk of adverse events particularly cardiovascular ones, in individuals
       consuming energy drinks due to underlying disease. It is unknown whether the inclusion
       of other stimulants in energy drinks may increase or decrease the threshold for
       experiencing side effects. Since energy drinks, such as RedlineXtreme contain other
       stimulants that can have a synergistic effect with caffeine, more research is needed to
       determine the long-term effects of habitual intake of energy drinks before definitive
       conclusions can be drawn (Sepkowitz, 2013).
               Consuming 4-12 mg/kg (280-840 mg in a 70 kg person) of caffeine has been
       associated with undesirable symptoms including anxiety, jitteriness, headache and fatigue,
       nervousness, irritability, anxiety, insomnia, tremor, tachycardia, palpitations, and upset
       stomach. Additional adverse effects include vomiting and abdominal pain, hypokalemia


                                                                                                7
Case 0:12-cv-62086-WJZ Document 49-10 Entered on FLSD Docket 04/18/2014 Page 8 of 16




       (low potassium levels), hallucinations, increased intracranial pressure, cerebral edema,
       stroke, paralysis, rhabdomyolysis (destruction of skeletal muscle that can lead to kidney
       damage) altered consciousness, rigidity, seizures, arrhythmias and death. (Seifert, 2011)
               Consuming caffeine drinks has been shown to increase heart rate and blood
       pressure during exercise (D. Bell, Bordeleau, JMR, Jacobs, I., 1999; Magkos, 2004).
       Caffeine has been shown to increase systolic blood pressure 2 hours after ingestion with
       lessor effects on diastolic blood pressure during activities of daily living. Many of the
       adverse effects of energy drinks have been thought to be due to caffeine and include
       insomnia, nervousness, headache, and tachycardia. Genetic factors may contribute to an
       individual’s vulnerability to caffeine-related disorders including caffeine intoxication,
       dependence and withdrawal.
               Caffeine is considered an ergogenic aid due to its potential to improve
       performance through it effects on the central nervous system and/or in the delivery of fuel
       for muscular work. Through these physiological actions, caffeine can elevate blood
       glucose and simultaneously increase the utilization of fat. It must be noted, however, that
       caffeine’s ergogenic effect on performance is variable; it appears to be dose-related and is
       dependent upon previous use of caffeine-containing foods and beverages (Liddle, 2013).

       Mechanisms of caffeine action: Caffeine is absorbed rapidly from the GI tract and is
       significantly elevated in the blood at 15 minutes with the peak concentration achieved at
       60 minutes (Powers, 2012). There is evidence that chronic users are less responsive to the
       ergogenic effects of caffeine than abstainers. As stated above, caffeine’s role as an
       ergogenic aid is based on its effects on skeletal muscle and as a stimulant of the central
       nervous system, and in the mobilization of utilization of fuels for muscular work.
       Caffeine consumption may result in elevated glucose levels due to stimulation of the
       sympathetic nervous system resulting in increased catecholamines resulting in the
       mobilization of glucose. This effect may also be due to the suppression of insulin release
       by catecholamines. These potential mechanisms of action are of significance with respect
       to energy products that contain additional substances that increase the release of
       catecholamines as they can exacerbate the physiological effects of caffeine (Powers,
       2012). In addition, caffeine may have an indirect effect on several neurotransmitters
       involved in both stimulation and non-stimulation; combination of other substances found
       in energy-promoting products may either exacerbate or attenuate these effects as well.

       Yerba Mate comes from the Ilex paraguariensis plant. The chief alkaloid in this herb is
       caffeine (0.4-2.4%). This substance is a central nervous system stimulant due to its high
       caffeine concentration, which is the primary reason for yerba mate to be incorporated into
       energy drink formulations (Heckman, 2010). The caffeine concentration in one cup
       (8ounces) of yerba mate tea is equivalent to about 78 mg; when present in proprietary
       formulations such as that found in Redline products it is not possible to discern the
       amount of caffeine added to the product.

       Yohimbe bark contains the primary active ingredient, Yohimbine. This is considered a
       prescription drug in North America. This drug can be safely used short-term when
       monitored by a health professional. However, it is not appropriate for unsupervised use
       due to potentially serious side effects (TherapeuticResearchFaculty, 2011). Yohimbe has



                                                                                                 8
Case 0:12-cv-62086-WJZ Document 49-10 Entered on FLSD Docket 04/18/2014 Page 9 of 16




       been linked to reports of severe side effects including irregular or rapid heartbeat, kidney
       failure, seizure, heart attack and others serious conditions. When taken by mouth in
       typical doses, yohimbe and the ingredient yohimbine can cause stomach upset, excitation,
       tremor, sleep problems, anxiety or agitation, high blood pressure, a racing heartbeat,
       dizziness, stomach problems, drooling, sinus pain, irritability, headache, frequent
       urination, bloating, rash, nausea, and vomiting. Taking high doses can also cause severe
       problems, including difficulty breathing, paralysis, very low blood pressure, heart
       problems, and death. There are special precautions and warnings issued regarding its use.
       These include pregnancy or breast-feeding (likely unsafe), schizophrenia (might make
       people with schizophrenia psychotic), prostate problems (might make the symptoms of
       benign prostatic hyperplasia worse), post- traumatic stress disorder, liver disease, kidney
       disease and those with high blood pressure or low blood pressure. Whether an individual
       has high or low blood pressure, it is advised that yohimbe not be used because small
       amounts can increase blood pressure and large amounts can cause dangerously low blood
       pressure. Importantly, yohimbe potentiates caffeine and ephedrine effects. Those with
       anxiety, depression and diabetes are advised to avoid yohimbe. The substance can also
       interact with several medications including medications for depression and high blood
       pressure. Importantly with respect to the combination of yohimbe with other active
       ingredients present in RedlineXtreme products, there is concern that interactions with
       other stimulants might cause serious problems including increased heart rate and high
       blood pressure. Specifically, the use of yohimbe along with products that contain caffeine
       might increase the risk of developing dangerously high blood pressure. This herb is not
       recommended for long-term use. It is contraindicated in liver and kidney diseases and in
       chronic inflammation of sexual organs or prostate gland. (Bucci, 2000; Sattler, 2002) It is
       not known whether yohimbe is effective for any health conditions because clinical trials
       have not been conducted on the bark or its extract. (Greenwald, 2007; Herbs at a Glance,
       2010; Yohimbe, 2011)

       Green tea (Camelia sinensis) is the fourth most commonly used dietary supplement in the
       United States. It is a source of caffeine, 10-50 mg per cup depending on variety and
       method of preparation; extracts contain variable amounts of caffeine. Recently,
       regulatory agencies in France and Spain suspended market authorization of a weight-loss
       product containing green tea extract because of hepatotoxicity concerns. This was
       followed by publication of adverse event case reports involving green tea products. In
       response, the US Pharmacopeia (USP) Dietary Supplement Information Expert
       Committee systematically reviewed the safety information for green tea products in order
       to re-evaluate the current safety class to which these products are assigned. Twenty-seven
       reports (out of 216 case reports) were categorized as possible causality and 7 as probable
       causality to liver damage. Clinical pharmacokinetic and animal toxicological information
       indicated that consumption of green tea concentrated extracts on an empty stomach is
       more likely to lead to adverse effects than consumption in the fed state. (Sarma, 2008).
       There is increasing body of literature supporting the concept that green tea extracts can
       cause serious side effects with the main outcome being acute liver toxicity. (Molinari,
       2006)

       Other active ingredients of concern in Redline Products


                                                                                                 9
Case 0:12-cv-62086-WJZ Document 49-10 Entered on FLSD Docket 04/18/2014 Page 10 of
                                      16




      5-Hydroxy tryptophan (5-HTP) is a chemical by-product of the amino acid, L-tryptophan.
      The compound works in the brain and central nervous system by increasing the
      production of the chemical, serotonin. Health professionals do not recommend the use of
      5-HTP and it is considered unsafe. Similar to 5-HTP, caffeine also increases the
      availability of serotonin, thus products containing high levels of caffeine along with other
      inducers of the neurotransmitters may be putting the consumer at risk of excessive
      serotonin levels. http://www.nlm.nih.gov/medlineplus/druginfo/natural/794.html
      (Gendle, 2010; MedlinePlus, 2013)

      Vinpocetine is a synthetic compound, structurally related to the alkaloid vincamine found
      in Periwinkel (Vinca minor). Vinpocetine is sold by prescription in Germany under the
      brand name Cavinton (Vas, 2005) and it is not clear how the US FDA regulations allow
      its addition to Redline Products. Its side effects include increased risk for excessive
      bleeding and should not be combined with aspirin, clopidogrel, warfarin, pentoxifylline,
      vitamin E, garlic and gingo ("Vinpocetine," 2013) .
      http://www.med.nyu.edu/content?ChunkIID=21841

      Club Moss (Lycopdium clavatum) The active ingredients of this plant includes alkaloids,
      triterpenes, steroids and flavonoids. Huperzine A (HupA) is an extract of Huperzia
      serrata (Chinese club moss, Lycopodium serrata, Qian Ceng Ta, Shuangyiping). HupA is
      a potent, reversible and selective inhibitor of acetylcholine esterase, with rapid absorption
      and penetration into the brain in animal studies (Kelley, 2008). There are no proven uses
      for this substance; however it does have diuretic effects. Despite the toxicity of alkaloids,
      no poisonings have yet been recorded.

      Energy drinks and supplements
              Health professionals and educators have voiced concerns about energy drinks and
      supplements with high caffeine content due to their association with cardiovascular
      events, in particular, sudden cardiac death and myocardial infarction (Berger, 2009;
      Finnegan, 2003; Sepkowitz, 2013). Consumption of energy drinks has been associated
      with serious consequences such as seizures, mania stroke, and sudden death. Several
      adverse events associated with caffeine-enhanced beverages have been reported and
      include nausea/vomiting, tachycardia, hypertension, jittery/agitated/tremors, dizziness,
      chest pain and bilateral numbness. In addition to caffeine intoxication, the consumption
      of energy drinks has been linked to seizures, acute mania, and stroke. Energy drink
      consumption has been associated with increased blood pressure and heart rate following
      exercise in healthy adults (Steinke, 2009). Reports indicate that even individuals without
      previously diagnosed risk factors for cardiac events display detrimental effects. Deaths
      attributed to energy drink consumption have been reported in Australia, Ireland and
      Sweden (Babu, 2008; Reissig, 2009). Risk for serious adverse effects of caffeine may be
      higher when energy drinks are combined with other stimulants, alcohol or strenuous
      physical activity, since the adrenergic effects and diuretic and natriuretic actions of
      energy drinks may be exaggerated (Franks, 2012). For this reason, the label should
      caution consumers when using the product immediately before strenuous exercise. There
      has been a rise in emergency room visits involving energy drinks by patients 18-39 years


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Case 0:12-cv-62086-WJZ Document 49-10 Entered on FLSD Docket 04/18/2014 Page 11 of
                                      16



      of age (DAWN, 2013). Although many of the visits involved the consumption of energy
      drinks in combination with drugs or alcohol, 56% were due to consumption of energy
      drinks alone (Eudy, 2013). These uses of energy drinks are most concerning since
      additive effects on blood pressure, heart rate, and cardiovascular workload can occur, and
      many energy drinks are specifically marketed for use during exercise (Eudy, 2013).
              Myocardial infarction, cardiac arrest, stroke, seizures, psychiatric disorder
      exacerbations, postural tachycardia syndrome, palpitations, headaches, and “jolt and
      crash” episodes (defined as increased alertness followed by a sudden drop in energy)
      have been reported following the consumption of energy drinks or supplements (Franks,
      2012). Four documented case reports of caffeine-associated deaths were found, as well as
      four separate cases of seizures associated with the consumption of energy drinks
      (Clauson, 2003). The high doses of caffeine, often in combination with ingredients with
      unknown safety profiles mandates urgent research on the safety of energy drink use in
      children and adolescents (Wolk, 2012).
              A recent systematic review of the literature of energy drink-associated acute
      adverse cardiovascular events showed that the majority of affected cases involved
      teenagers and young adults, the largest demographic of energy drink consumers
      (Goldfarb, 2014). A 1-year prospective surveillance study of dietary supplement-related
      poison control center calls was conducted in 2006. Of 275 dietary supplement calls, 41%
      involved symptomatic exposures and two-thirds were rated as probably or possibly
      related to supplement use. Eight adverse events required hospital admission. Caffeine
      products accounted for 47% and yohimbe products accounted for 18% of supplement-
      related symptomatic cases. Clinically significant toxic effects were most frequently
      reported with caffeine and yohimbe-containing products. (Haller, 2008).
              Currently, scientists and health professionals are expressing concern about the
      adverse effects of excessive caffeine consumption. Adolescents and young adults are
      often unaware that various products, such as energy drinks, herbal medications, and
      various other medications that promote alertness, contain caffeine. When these products
      are taken together caffeine toxicity and severe adverse effects can occur (Rath, 2012).
      Health care providers have reported dehydration, accelerated heart rates, anxiety, seizures,
      acute mania, and strokes following consumption of energy drinks (Pennington, 2010).
      Three middle school students were taken to the “emergency rooms due to complaints of
      racing heart rates and body sweats” after sharing a can of Redline (Parikh, 2012). There
      are increasing concerns from health authorities about energy drink consumption due to
      their blend of ingredients, the safety of which have not been well documented (Burrows,
      2013; Eudy, 2013)
              In a recent law review, the author proposes an amendment to the FFDCA to
      afford the FDA regulatory power over energy drinks similar to that which it now
      exercises over tobacco (Hoflander, 2011). The article specifically states that congress
      should amend the FFDCA (21 U.S.C 31) by inserting a provision that defines an energy
      drink as “a heavily-caffeinated liquid substance for use by man to supplement the diet.
      The heavily caffeinated liquid beverage being defined by: 1) a quantity of caffeine in
      excess of eight (80) milligrams per eight (8) ounces; or 2) one or more of the following
      ingredients constituting an “energy blend” (carnitine, glucuronolactone, glucose, guarana,
      inositol, maltodextrin, panax ginseng, super citramax, taurine or yohimbine HCl).




                                                                                              11
Case 0:12-cv-62086-WJZ Document 49-10 Entered on FLSD Docket 04/18/2014 Page 12 of
                                      16



               Since athletes are major consumers of energy drinks and supplements, it is
      essential to investigate cardiovascular responses to energy drink type products during
      intense exercise. Sillivent and colleagues (Sillivent, 2012) examined the effects of
      Redline energy drink ingestion on cardiovascular responses including VO2 max
      (maximal oxygen uptake, is one factor that can determine an athlete's capacity to perform
      sustained exercise and is linked to aerobic endurance. VO2 max refers to the maximum
      amount of oxygen that an individual can utilize during intense or maximal exercise),
      blood pressure, diastolic blood pressure (DBP), RPP (rate pressure product; this is an
      estimate of work performed by the heart), ectopic beats, and heart rate at rest and during
      exercise. Their study used a test dose containing 250 mg of caffeine anhydrous. Subjects
      drank the 240 ml of either a placebo or sugar-free energy drink. Subject’s maximal time
      on treadmill was blunted after the consumption of the product compared to placebo.
      Consumption of the Redline product, resulted in reduced VO2 max and elevated RPP and
      recovery DBP. The results suggest that these supplements have the potential to produce
      more ectopic beats and exercise intolerance. The authors suggested that the Redline
      caused an increase in circulating epinephrine and thus contributed to elevated RPP. The
      authors raised concern that these products can be dangerous for an athlete with any kind
      of heart disease or defect. The additional consumption of excessive amount of caffeine
      before exercise may potentially exacerbate the risk of cardiovascular events. Steinke and
      colleagues (Steinke, 2009) reported that heart rate and systolic blood pressure were
      significantly elevated within two hours of consumption of an energy drink at rest. Studies
      have also shown increased resting heart rate, systolic blood pressure and two episodes of
      atrial fibrillation after the ingestion of Red Bull and Sugar Free Red Bull, both containing
      only 80 mg of caffeine. This is in stark contrast to RedlineXtreme labeled as containing
      158 mg per serving, but actually contains even more caffeine as part of its proprietary
      blend. Worthley and colleagues reported that consumption of just 250 ml of a sugar-free
      energy drink caused an increase in platelet aggregation in 15 healthy volunteers
      (Worthley, 2010).
               While the FDA has noted that as much as 400-500 mg/day caffeine is not
      associated with general toxicity, cardiovascular problems and negative effects on bone
      status or calcium balance, it is reasonable to assume that consumption of Redline
      products can exceed such levels. For example, in one bottle (2 servings of Redline
      Xtreme) there is 316 mg of caffeine listed on the label (158 mg per serving). It should be
      noted that manufacturers are not required to list the caffeine content from additional
      ingredients. Thus the actual caffeine dose in a single serving can exceed that listed which
      is not only misleading but in fact false (McLellan, 2012; Seifert, 2011). As discussed
      earlier in this report, Redline products often contain additional substances that contain
      caffeine and have physiological effects similar to that of caffeine.

      Factors Contributing to Increased Risk from Energy Drinks and Supplements

      Chronic disease
             It has been stated in reviews of energy drink safety that drinking energy drinks in
      moderation is considered safe for “healthy individuals”. The concept of “healthy
      individuals” is an important consideration that is often ignored. Close to 50% of adults in
      the United States have at least one of the three risk factors for cardiovascular disease


                                                                                               12
Case 0:12-cv-62086-WJZ Document 49-10 Entered on FLSD Docket 04/18/2014 Page 13 of
                                      16



      (uncontrolled high blood pressure, uncontrolled high levels of LDL-cholesterol, and
      current smoking). About two-thirds of the adult population is overweight (33%) or obese
      (36%) (http://www.cdc.gov/nchs/fastats/overwt.htm). Approximately 33% of non-
      institutionalized adults ages 20 and over have hypertension
      (http://www.cdc.gov/nchs/fastats/hyptertens.htm). Many individuals with hypertension
      have not been diagnosed (http://iom.edu/Reports/2010/A-Population-Based-Policy-and-
      Systems-Change-Approach-to-Prevent-and-Control-Hypertension/Press-Release-Prevent-
      Control-Hypertension-MR.aspx); (http://www.heart.org/idc/groups/heart-
      public/@wcm/@sop/@smd/documents/downloadable/ucm_319587.pdf). Close to 10% of
      the US population has diabetes and an estimated 7.0 million people are undiagnosed.
      Hypertension and diabetes are both associated with vision problems; a consideration for
      those individuals attempting to read the labels on Redline products.

      Summary and Conclusions

      Review of the literature provides evidence that consumption of RedlineXtreme products
      can pose substantial risk to individuals; especially those with hypertension and pre-
      existing cardiovascular conditions. Often times, these conditions are unrecognized, thus
      individuals are not aware that they should avoid products such as RedlineXtreme. Reports
      indicate that even those without previously diagnosed risk factors have suffered negative
      consequences following the consumption of energy supplements, including Redline
      products. The label of RedlineXtreme products poses substantial concerns. It is essential
      that studies be conducted and their results interpreted in an unbiased manner that ensures
      they are scientifically valid and can be replicated by other laboratories. Replication across
      laboratories is essential to ensure findings are accurate and reliable so that the
      representations made on the label are supported by competent and reliable evidence and
      not misleading to the consumer (McLellan, 2012). The label, as it exists, does not
      properly inform the consumer of the true nature of the product.

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Case 0:12-cv-62086-WJZ Document 49-10 Entered on FLSD Docket 04/18/2014 Page 14 of
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Case 0:12-cv-62086-WJZ Document 49-10 Entered on FLSD Docket 04/18/2014 Page 15 of
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Case 0:12-cv-62086-WJZ Document 49-10 Entered on FLSD Docket 04/18/2014 Page 16 of
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      3. Exhibits (attached)
      4. Qualifiations and publications (attached)
      5. Prior Testimony--none
      6. Compensation (attached)
             a. Invoice
             b. Agreement with The Egnnatz Law Firm, P.A.




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